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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                )
                                        )
v.                                      )          CASE NO.: 8:24-CR-211-TDC
                                        )
HOAU-YAN WANG,                          )
                                        )
       Defendant.                       )




                    DEFENDANT DR. HOAU-YAN WANG’S
     MOTION TO DISMISS THE INDICTMENT AND MEMORANDUM IN SUPPORT



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                                        INTRODUCTION

         Almost two decades ago, in 2005, Defendant Dr. Hoau-Yan Wang (“Dr. Wang”) began

consulting for Company 1,1 a publicly traded biopharmaceutical company, regarding the

development of a novel treatment for Alzheimer’s disease. For more than 15 years, the research

Dr. Wang and Company 1 conducted was widely accepted by dozens of reputable neuroscience

journals, approved for trial by the Food and Drug Administration (“FDA”), and funded, in part, by

the National Institutes of Health (“NIH”). Then, on August 18, 2021, a group of financially-

motivated short sellers of Company 1’s stock changed everything by filing a Citizen Petition with

the FDA, requesting that it halt Company 1’s drug trials based on claimed research misconduct.2

The FDA and NIH apparently disagreed with the short sellers’ allegations, as evidenced by the

fact that these agencies have permitted clinical trials on Alzheimer’s patients and federal funding

to continue to this day, without any interruption or pause.3

         Dr. Wang finds himself in this forum fighting for his freedom because the Department of

Justice (“DOJ”) apparently decided it knew better than its scientific counterparts at the FDA and

NIH. While “short and distort” schemes can have potentially disastrous economic effects and can

stifle scientific advancement, such schemes become even more harmful when law enforcement




1
    The anonymized terms used in this motion are used in the same way as those in the Indictment.
2
 See Citizen Petition from Labaton Sucharow, Docket No. FDA-2021-P-0930 (filed Aug. 23,
2021), available at https://www.regulations.gov/docket/FDA-2021-P-0930/document (last visited
Oct. 27, 2024).
3
  See Response Letter from FDA CDER to Labaton Sucharow (Feb. 10, 2022), available at
https://www.regulations.gov/docket/FDA-2021-P-0930/document (last visited Oct. 27, 2024);
[Company 1] Announces Completion of an Interim Safety Review of Oral [Drug A] On-going
Phase 3 Trials (Sept. 24, 2024), available at https://www.cassavasciences.com/news-
releases/news-release-details/cassava-sciences-announces-completion-interim-safety-review-0
(last visited Oct. 27, 2024).


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jumps in to advance the short sellers’ agenda. That is exactly what happened here, when FBI

agents knocked on Dr. Wang’s door just five days after the Citizen Petition was filed.

       Having become wedded to this faulty agenda, the Government has reached too far and

produced an Indictment that must be dismissed for five reasons, pursuant to Federal Rules of

Criminal Procedure 12(b)(3)(A)(i) and (B)(v). First, the Indictment fails to allege that any

supposed misrepresentations by Dr. Wang were material to the NIH’s funding decisions,

highlighted by the fact that the NIH continues to fund Drug A despite the public allegations from

the short sellers. Second, the major fraud count (Count 1) and the false statements count (Count

4) are untimely because they are premised on a faulty assumption that those violations are

continuing offenses. Third, the major fraud count fails to allege that Dr. Wang fraudulently sought

a grant valued at more than $1 million, the statutory threshold for the offense. Fourth, the major

fraud count also violates Dr. Wang’s constitutional right to be tried only in a District where the

crime was supposedly committed. Fifth, the entire Indictment should be dismissed because it does

not give Dr. Wang fair notice of his supposed conduct that constituted the charged crimes.

       For the reasons set forth more fully below, Dr. Wang respectfully requests that the Court

dismiss the Indictment with prejudice.4




4
  If the Court agrees with some but not all of these conclusions, then Dr. Wang moves the Court,
in the alternative, to strike the defective counts from the Indictment and leave the remainder intact.


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                                  FACTUAL BACKGROUND5

       A.        Dr. Wang is a Neuroscience Researcher and Tenured Medical School Professor
                 at University 1, as well as an “Advisor and Consultant” to Company 1.

       Dr. Wang is a tenured medical school professor at University 1 in the Southern District of

New York, where he teaches a full-time courseload and conducts neuroscience research. (Doc. 1

¶ 1). Beginning nearly two decades ago, in 2005, Dr. Wang became an “advisor and consultant”

for Company 1, a publicly traded biopharmaceutical company based in the Western District of

Texas. (Id. ¶¶ 2-3). Company 1’s work focused on the development of Test A and Drug A, which

were designed to test for and treat Alzheimer’s disease. (Id. ¶ 2). Dr. Wang is not alleged to have

been an employee, officer, or director of Company 1 at any time or to have possessed the power

to bind Company 1 to any contract or other economic commitment. (Id. ¶ 3).

       Starting in 2005, Dr. Wang began conducting research on Drug A using several laboratory

techniques, including one called Western blotting. (Id. ¶ 9). Western blotting is a largely visual

laboratory technique that allows a trained scientist to detect a specific protein by developing and

analyzing a visible “band” on x-ray film. (Id.). Separate from the visual image of a Western blot

“band,” the test’s results can be quantified using a process called densitometry, which compares

the darkness and thickness of various bands to determine the relative protein amounts in each

sample. (Id.).




5
  On a motion to dismiss, “[a] district court is limited to considering the factual allegations in the
indictment and must accept them as true.” United States v. Brewbaker, 87 F.4th 563, 579 (4th Cir.
2023) (citing United States v. Engle, 676 F.3d 405, 415 (4th Cir. 2012)). That said, Dr. Wang does
not agree that any of the Indictment’s allegations are true or accurate and expects that a jury would
reject the Government’s claims at trial.


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       B.       Company 1 Submits NIH Grant Applications.

       Starting in May 2015, Company 1 began to submit proposals to the NIH for grants related

to Drug A and Test A. (Id. ¶ 10). Company 1 submitted these proposals electronically from the

Western District of Texas to the District of Maryland. (Id. ¶¶ 2, 6, 15, 17, 22). From 2017 to

2021, the NIH awarded Company 1 roughly $16 million in connection with Company 1’s

proposals. (Id.). Those payments were made electronically from NIH facilities in the District of

Maryland to Company 1 in the Western District of Texas. (Id. ¶¶ 2, 10).

       More specifically, Company 1 allegedly submitted the following five grant proposals to

the NIH from August 2016 to July 14, 2020, in the following amounts:

                                                            Amount
    Grant            Date(s) of Proposal(s)                                    Amount Awarded
                                                           Requested
                 “multiple” proposals from
 Grant 1         Aug. 2016 to June 2018 (id. ¶       N/A                     $5,113,068 (id. ¶ 15)
                 15)
                 “multiple” proposals from
 Grant 2                                             N/A
                 Jan. to June 2018 (id. ¶ 17)                                $3,906,146 (id. ¶ 17)
   Proposal 1 January 12, 2018 (id. ¶ 18)            $118,975 (id. ¶ 18)
 Grant 3         January 17, 2019 (id. ¶ 20)         N/A                     $2,499,896 (id. ¶ 21)
 Grant 4         July 14, 2020 (id. ¶ 22)            N/A                     $2,710,220 (id. ¶ 23)
 Grant 5         January 5, 2017 (id. ¶ 24)          $250,298 (id. ¶ 24)     $1,855,233 (id. ¶ 26)
   Proposal 2    November 18, 2019 (id. ¶ 25)        N/A                     $450,142 (id. ¶ 26)

       The Indictment alleges that Dr. Wang “was indirectly paid” from the grant proceeds

“through University 1,” (id. ¶ 10), while at the same time claiming that Dr. Wang’s stock options

and bonus plan from Company 1 were “tied to Company 1’s stock performance,” rather than to

the awarding of NIH grant funding (id. ¶ 12). The Government does not, and cannot, allege that

Dr. Wang received a single dollar of raise or salary increase that is directly tied to NIH grant




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funding or that a single email, wire transfer or communication travelled directly between Dr. Wang

in the Southern District of New York and the NIH in the District of Maryland.

       C.      Dr. Wang Had a Limited Role in the NIH Grant Applications.

       The Indictment does not allege that Drug A is ineffective or dangerous to consumers in any

way or that the FDA or NIH took any action to stop Drug A’s trials or to pull its funding. Instead,

the Indictment alleges that somewhere in the voluminous applications for Grants 1 through 5,

which span a total of 985 pages and include 77 figures, 131 Western blots, and 21 tables, Dr. Wang

provided information that the Government generally alleges to have been “false.” (Id. ¶¶ 10, 13,

14(a), (b), 15, 17, 18, 25, 29, 32, 34, 39). Aside from these overly broad allegations, the Indictment

contains only a single specific allegation of supposed falsity, claiming that Dr. Wang produced a

single false Western blot image (“Figure 1”) that was also published in scientific, peer-reviewed

journal articles. (Id. ¶¶ 16, 18, 19). The Indictment does not allege that Dr. Wang was the sole

author of any of those three articles, admitting the articles were published by Dr. Wang “and

others.” (Id. ¶¶ 16, 19). Nor does the Indictment allege that this supposed false statement was

“material”—i.e., that it had any impact on FDA’s or NIH’s decision to continue to support and

fund Drug A’s development.

       And, for purposes of the allegedly “false statement” in Figure 1, the Indictment does not

allege that Dr. Wang’s research has been discredited. In fact, Figure 1 was published in 2017 by

Neurobiology of Aging, which learned of the public allegations involving Company 1 and

conveyed them to Dr. Wang and the other authors in 2022. In response, Neurobiology of Aging

received “a detailed response, including images of relevant uncropped western blots and

photomicrographs, as the editor requested.” See Expression of Concern regarding Hoau-Yan Wang

et al., PTI-125 Binds and Reverses an Altered Conformation of Filamin A to Reduce Alzheimer’s

Disease Pathogenesis, 55 Neurobiol. Aging 99 (2017; submitted Dec. 13, 2016). Neurobiology of


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Aging then had the material “evaluated by an independent expert with relevant methodological

expertise” and had the manuscript “scanned by AI-based figure proofing software (i.e., Proofig).”

Id.   After “all available input was considered by the handling editor and Editor-in-Chief,”

“[o]verall, the editors did not find compelling evidence of data manipulation intended to

misrepresent the results.” Id. In other words, the single figure the Government claims to have

been manipulated was cleared by the publisher using AI-based software and remains in circulation

today.

         What’s more, the Government recognizes that much of Dr. Wang’s work underlying the

submissions of Grants 1 through 5 took place in connection with his research scholarly journal

articles published in 2012 and 2017. (Id. ¶¶ 16, 18, 20, 22, 24). The articles referenced in the

Indictment were based on work submitted to journals, and thus completed well before, January 24,

2012 and December 13, 2016. See Hoau-Yan Wang et al., Reducing amyloid-related Alzheimer’s

disease pathogenesis by a small molecule targeting filamin A, 32 J. Neurosci. 9773 (2012;

submitted Jan. 24, 2012); Hoau-Yan Wang et al., PTI-125 Binds and Reverses an Altered

Conformation of Filamin A to Reduce Alzheimer’s Disease Pathogenesis, 55 Neurobiol. Aging 99

(2017; submitted Dec. 13, 2016).6 Later, in or around November 2020, Dr. Wang and others

submitted a different scholarly journal article, but even the Government concedes that article was

only relied upon in Grant 4, which does not form the basis of any of the charged conduct. (Id. ¶


6
  The journal articles are “incorporated . . . by reference” in and “integral” to the Indictment (see
Doc. 1 ¶¶ 16, 18, 20, 22, 24), so they are properly considered in this motion to dismiss. See, e.g.,
Selvam v. United States, 570 F. Supp. 3d 29, 38 (E.D.N.Y. 2021) (citing United States v. Strock,
982 F.3d 51, 63 (2d Cir. 2020) (internal quotations omitted in original)); accord. Sec’y of State For
Defence v. Trimble Nav. Ltd., 484 F.3d 700, 705 (4th Cir. 2007) (explaining that courts “may
consider documents attached to the complaint, see Fed. R. Civ. P. 10(c), as well as those attached
to the motion to dismiss, so long as they are integral to the complaint and authentic.”). They are
also publicly accessible and subject to judicial notice by the Court pursuant to Federal Rule of
Evidence 201.


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22); see also H-Y Wang et al., PTI-125 Reduces Biomarkers of Alzheimer’s Disease in Patients, 7

J. Prev. Alzheimer’s Dis. 256 (2020). In sum, by the end of 2016, Dr. Wang had fully completed

his work that underlaid Grants 1-3 and 5. This includes Proposals 1 and 2, on which the charged

conduct is based.

        D.      Dr. Wang is Indicted in the District of Maryland.

        On June 27, 2024, the Grand Jury charged Dr. Wang with four offenses arising out of his

research for Company 1. Count 1 charges Dr. Wang with major fraud against the United States,

in violation of 18 U.S.C. §§ 1031(a) and 2, for his “[s]ubmission of fraudulent Proposal 1 to NIH.”

(Id. ¶ 32). Counts 2 and 3 charge Dr. Wang with wire fraud, in violation of 18 U.S.C. §§ 1343

and 2, stemming from automated clearing house (“ACH”) transfer requests that were allegedly

submitted to the Federal Reserve Board for partial payments on Proposal 1 of $32,815 on March

22, 2019 (Count 2) and on Proposal 2 of $125,026 on June 18, 2021 (Count 3). (Id. ¶ 37). Count

IV charges Dr. Wang with one count of making a false statement in “a filed submission to NIH in

connection with fraudulent Proposal 2.” (Id. ¶ 39). In other words, only Proposal 1 and Proposal

2 form the basis for the Indictment’s four charged counts, despite the Indictment’s references to

Grants 1 through 5.

                                    STANDARD OF REVIEW

        The Federal Rules of Criminal Procedure require every indictment to set forth “a plain,

concise, and definite written statement of the essential facts constituting the offense charged.” Fed.

R. Crim. P. 7(c)(1). A defendant may move to dismiss an indictment when it contains a “defect,”

including a “lack of specificity” and a “failure to state an offense.” Fed. R. Crim. P. 12(b)(3)(B)(iii),

(v). When assessing a motion to dismiss an indictment, a court must “determine[s] whether the

indictment’s factual allegations, if true, state[] the charged . . . violation.” Brewbaker, 87 F.4th at

579; United States v. Roof, 225 F. Supp. 3d 438, 441-42 (D.S.C. 2016) (“A motion to dismiss an


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indictment tests whether the indictment sufficiently charges the offense the defendant is accused

of committing.” (citing United States v. Vanderhorst, 2 F. Supp. 3d 792, 795 (D.S.C. 2014))). And

“[i]f an indictment contains multiple counts, each count is viewed as a separate indictment for

purposes of determining its sufficiency.” United States v. Smith, 44 F.3d 1259, 1264 (4th Cir.

1995) (citing Dunn v. United States, 284 U.S. 390, 393 (1932)); see United States v. Hooker, 841

F.2d 1225, 1231 (4th Cir. 1988) (“[T]he law in this circuit does not support the . . . position that a

missing element can be read into an indictment from another count -- at least not when the

challenged count fails to incorporate the other counts by reference”). In determining whether the

indictment articulates the alleged offense sufficiently, a court must accept all allegations as true,

“regard the indictment in a ‘practical,’ rather than ‘purely technical,’ manner,” and determine

whether it sufficiently articulates the alleged offense. United States v. Alkhayyat, No. 3:22-CR-

00138-KDB-DSC, 2023 U.S. Dist. LEXIS 14857, at *2-3 (W.D.N.C. Jan. 30, 2023) (quoting

United States v. Matzkin, 14 F.3d 1014, 1019 (4th Cir. 1994)); United States v. Cobb, 905 F.2d 784,

790 (4th Cir. 1990) (quoting United States v. Missler, 414 F.2d 1293, 1297 (4th Cir. 1969), cert.

denied, 397 U.S. 913 (1970) (quoting Martin v. United States, 299 F. 287 (4th Cir. 1925))); see

United States v. Terry, 257 F.3d 366, 371 (4th Cir. 2001) (King, J., concurring) (“It is elementary

that a motion to dismiss implicates only the legal sufficiency of [the indictment's] allegations, not

the proof offered by the Government.”).

       An effective indictment must clearly outline the essential elements of the charge, specify

the exact nature of the allegations, and provide adequate notice to the defendant. United States v.

Brandon, 298 F.3d 307, 310 (4th Cir. 2002) (“An indictment is sufficient if it, first, contains the

elements of the offense charged and fairly informs a defendant of the charge against which he must

defend, and, second, enables him to plead an acquittal or conviction in bar of future prosecutions




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for the same offense.” (quoting Hamling v. United States, 418 U.S. 87, 117 (1974))); United States

v. Bolden, 325 F.3d 471, 490 (4th Cir. 2003) (citing Smith, 44 F.3d at 1263 (citing Hamling, 418

U.S. at 117)). Merely echoing the language of the statute is inadequate; the indictment must

present specific factual information that clarifies the precise nature of the charges. Brandon, 298

F.3d at 310 (citing Hamling, 418 at 117-18). To achieve dismissal, the defendant must demonstrate

that the allegations, even if accurate, do not amount to a prosecutable offense. United States v.

Yasinov, No. 1:22-cr-00448-JRR, 2024 U.S. Dist. LEXIS 78205, at *4 (D. Md. Apr. 30, 2024)

(citing United States v. Thomas, 367 F.3d 194, 197 (4th Cir. 2004)); accord Hale v. United States,

89 F.2d 578, 579 (4th Cir. 1937) (“It is elementary that every ingredient of crime must be charged

in the bill, a general reference to the provisions of the statute being insufficient.”

        The notice requirement “derives from the defendant’s Sixth Amendment right to be

informed of the nature and cause of the accusation” and “is only half of the question.” Hooker,

841 F.2d at 1230; Russell v. United States, 369 U.S. 749, 761 (1962). There is also a separate

requirement that “derives from the Fifth Amendment, which requires that the grand jury have

considered and found all elements to be present.” United States v. Kingrea, 573 F.3d 186, 193 (4th

Cir. 2009) (quoting Hooker, 841 F.2d at 1230). “[F]actual particularity must ‘ensure that the

prosecution will not fill in elements of its case with facts other than those considered by the grand

jury.’” United States v. Elshinawy, 228 F. Supp. 3d 520, 537 (D. Md. 2016) (quoting United States

v. Walsh, 194 F.3d 37, 44 (2d Cir. 1999) (citation omitted in original)). Courts therefore apply

“‘heightened scrutiny’ to ensure that every essential element of an offense has been charged.”

United States v. Perry, 757 F.3d 166, 191 (4th Cir. 2014) (citing Kingrea, 573 F.3d at 191).




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                                           ARGUMENT

       Different Government agencies are pursuing perplexingly contradictory objectives

regarding Company 1 and its Alzheimer’s drug: FDA and NIH continue to provide unabated

support and funding for Company 1’s development of a treatment for Alzheimer’s; while DOJ

seems intent on lending credence to the self-serving theories of opportunistic short sellers by

making an example of an elderly Taiwanese immigrant, while choosing not to pursue Company 1.

The Indictment must be dismissed for the following reasons: (1) all counts fail to allege that the

supposed misrepresentations were material to the NIH’s funding decisions, especially given that

the NIH continues to fund the project; (2) the major fraud and false statements claims are time-

barred; (3) the major fraud claim does not meet the $1 million statutory threshold required to allege

a major fraud; (4) the major fraud claim violates Dr. Wang’s constitutional right to be tried in the

venue where the alleged crime occurred; and (5) the Indictment is so vague that it fails to put Dr.

Wang on notice of which of his alleged conduct is criminal. Dr. Wang respectfully requests that

the Court dismiss the Indictment with prejudice.

       A.      The Indictment Fails to Allege Materiality.

       Under applicable law, each count of the Indictment must be supported by an allegation of

a material misrepresentation. See United States v. Whyte, 918 F.3d 339, 350 n.13 (4th Cir. 2019)

(for major fraud, requiring an allegation of “materially false of fraudulent pretenses,

representations, or promises”); Neder v. United States, 527 U.S. 1, 25 (1999) (for wire fraud, noting

“materiality of falsehood is an element”); United States v. Hamilton, 699 F.3d 356, 362 (4th Cir.

2012) (for false statements, noting that the false statement must be “material to a matter within the

jurisdiction of the [government] agency” (citing United States v. Sarihifard, 155 F.3d 301, 306 (4th

Cir. 1998))). A false statement is material if it has “a natural tendency to influence, or [is] capable

of influencing, the decision of the decision-making body to which it was addressed.” Neder, 527


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U.S. at 28 (citing United States v. Gaudin, 515 U.S. 506, 509 (1995); Kungys v. United States, 485

U.S. 759, 770 (1988)); United States v. Barringer, 25 F.4th 239, 251 (4th Cir. 2022) (citing

Hamilton, 699 F.3d at 362).

       As established above, of the five grant applications (Doc. 1 ¶¶ 15, 17, 18, 20, 22, 24, 25)

that Company 1 submitted to the NIH, and the three journal articles (id. ¶¶ 16, 19) that were cited

in those applications, the Indictment specifically identifies only one piece of data that was

allegedly manipulated by Dr. Wang: a single Western blot image (Figure 1). The date this piece of

data was allegedly manipulated must logically precede the date it was first submitted for

publication to Neurobiology of Aging on December 13, 2016. Even if Dr. Wang manipulated data

on this one image, which he vehemently denies, the Government has not specified—and no

reasonable jury could find—that one image altered in December 2016 materially impacted the

NIH’s decision to fund Proposal 1, sometime after its alleged January 2018 submission date.

       The Indictment does not allege any facts showing that Company 1’s extensive submissions

to the NIH did not contain other truthful information sufficient for the NIH to make the same

funding decisions, or that, but for the inclusion of Figure 1 in Company 1’s submissions, the NIH

would not have funded research into Drug A. The Government cannot allege such facts because

they are not true—Figure 1, a single image, cannot have been a material factor in the NIH’s

funding decisions. See, e.g., United States ex rel. Berge v. Bd. of Trs., 104 F.3d 1453, 1462 (4th

Cir. 1997) (“Assuming arguendo that all of Berge’s allegations were true and [the university] had

made these false statements, it is hard to imagine that the NIH’s decision-making would have been

influenced by them.”); accord United States v. Walgreen Co., 78 F.4th 87, 93 (4th Cir. 2023)

(“explaining how the court upheld the dismissal of a False Claims Act claim when the relator failed

to allege how or whether a misrepresentation about corporate certificates of authorization impacted




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government decision-making on claims for payment” (citing United States ex rel. Taylor v. Boyko,

39 F.4th 177, 189, 202 (4th Cir. 2022))).

       Figure 1 was merely one of many included in Company 1’s prodigious submissions to the

NIH, as described above. Given the breadth and depth of this documentation, it is unreasonable

to suggest that a single Western blot image, such as Figure 1, could have been material to the NIH’s

funding decisions, given the abundance of other substantive and accurate data presented in the

applications. This is especially true given that the Government has not (and cannot) allege that the

FDA, NIH, or the journal that published Figure 1 have expressed any substantive concerns with

the efficacy of Drug A or taken any actions to discontinue support or funding of Drug A’s

development in light of the alleged falsity of Figure 1.

       The Indictment alleges that the “NIH’s grant-approval process involved multiple steps and

rounds of review within NIH, in consultation with an external peer-review panel, and included

evaluations of the applications across a number of metrics” and that the NIH “relied upon truthful

representations from an applicant” when doing so. (Doc. 1 ¶ 7). But the Indictment does not

describe the NIH’s “metrics” or how the NIH made its decisions. As a result, the Indictment fails

to allege that the misrepresentations in Figure 1, and the other vague allegations of

misrepresentations in the Indictment, were material to the NIH’s decision-making process. And if

they were material, why is NIH continuing to support and fund Company 1’s proposal after this

alleged misrepresentation was uncovered? It is doing so because Company 1’s proposal is sound

and supported by overwhelming evidence, and Dr. Wang’s alleged misrepresentations were

inconsequential to NIH’s decision-making.

       The Indictment fails to plead facts that, if true, establish the materiality element of Counts

1 through 4. By itself, that is grounds for dismissal of the Indictment. See Brandon, 298 F.3d at




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310 (“[S]imply parroting the language of the statute in the indictment is insufficient.”); Id. (“[T]he

indictment must also contain a ‘statement of the essential facts constituting the offense charged.’”)

(quoting Fed. R. Crim. P. 7(c)(1)); see also Fed. R. Crim. P. 7(c)(1) (requiring every indictment to

set forth “a plain, concise, and definite written statement of the essential facts constituting the

offense charged”); id. 12(b)(3)(B)(iii) (stating that grounds to dismiss an Indictment include when

it contains a “defect,” including a “lack of specificity”).

       B.      The Major Fraud (Count 1) and False Statements (Count 4) Charges are Time-
               Barred.

       The major fraud and false statements counts are time-barred because the Government

mistakenly asserts that those statutes are continuing offenses. They are not. The statute of

limitations is designed “to limit exposure to criminal prosecution to a certain fixed period of time

following the occurrence of those acts that the legislature has decided to punish by criminal

sanctions.” Toussie v. United States, 397 U.S. 112, 114 (1970); United States v. Smith, 373 F.3d

561, 563 (4th Cir. 2004) (“A statute of limitations protects individuals from having to defend

against charges ‘when the basic facts may have become obscured by the passage of time,’ and

minimizes ‘the danger of official punishment because of acts in the far-distant past.’” (quoting

Toussie, 397 U.S. at 114)).      Once a statute of limitations defense is properly raised, “the

Government then bears the burden of establishing compliance with the statute of limitations by

presenting evidence that the crime was committed within the statute of limitations period or by

establishing an exception to the limitations period.” Musacchio v. United States, 577 U.S. 237,

248 (2016) (emphasis in original) (citing United States v. Cook, 84 U.S. 168, 179 (1872)); United

States v. Wilson, 118 F.3d 228, 236 (4th Cir. 1997) (when a limitations issue is raised, “[t]he

government bears the burden of proving that it began its prosecution within the statute of

limitations period”).



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          “Under certain limited circumstances,” crimes that “occur over an extended period may be

treated as a continuing offense for statute of limitations purposes.” United States v. Treacy, No.

5:13cr00018, 2014 U.S. Dist. LEXIS 200228, at *6 (W.D. Va. Jan. 28, 2014); Smith, 373 F.3d at

563-64 (citing Toussie, 397 U.S. at 115). But the Supreme Court has cautioned that “the doctrine

of continuing offenses should be applied in only limited circumstances.” Toussie, 397 U.S. at 115.

A crime is deemed a “continuing offense” only if (1) “the explicit language of the substantive

criminal statute compels such a conclusion;” or (2) “the nature of the crime involved is such that

Congress must assuredly have intended that it be treated as a continuing one.” Id. at 115.

          Applying the Toussie test, courts in the Fourth Circuit have held that executing a major

fraud is not a continuing offense. United States v. Verclas, No. GJH-18-160, 2019 U.S. Dist.

LEXIS 766, *18 (D. Md. Jan. 3, 2019) (Hazel, J.). As the Court of Appeals for the Tenth Circuit

put it:    “each discrete ‘execution’ of a scheme, rather than the scheme in its entirety,” is

criminalized by the Act. United States v. Reitmeyer, 356 F.3d 1313, 1323 (10th Cir. 2004). And

“[t]he discrete nature of a Major Fraud Act violation makes it unlikely Congress intended it to be

a continuing offense for statute of limitations purposes.” Id.; United States v. Harris, 919 F. Supp.

2d 702, 708 (E.D. Va. 2013) (“If Congress intended the execution of a scheme [under the Major

Fraud Act] to be a continuing offense, it could have clearly stated so.” (quoting Reitmeyer, 356

F.3d at 1322)).

          Likewise, courts in the Fourth Circuit have held that false statements, under 18 U.S.C. §

1001, are not continuing offenses. Treacy, 2014 U.S. Dist. LEXIS 200228, at *9. This is because

“none of the acts criminalized by Section 1001 clearly contemplate a prolonged course of

conduct,” but instead “a single act even though there may be continuing effects.” Id. at *8 (finding

that because a false statements charge “could have been ‘brought and proved’” once the defendant




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“submitted the false application, it is clear that it is a discrete crime, not simply one act in a course

of conduct”).    These courts have reasoned that the aim of the false statements statute is

criminalizing “the intrinsic harm of the falsehood itself,” not any subsequent ongoing benefit the

defendant stands to gain from that falsehood. Id. at *10-11.

        The statute of limitations for major fraud requires that a prosecution be commenced “not

later than 7 years after the offense is committed.” 18 U.S.C. § 1031(f) (emphasis added). And for

false statements, the statute of limitations is 5 years. Treacy, 2014 U.S. Dist. LEXIS 200228, at

*4; 18 U.S.C. § 3282(a). Here, pre-indictment tolling agreements between the parties added 135

days to the applicable statutes of limitations. See Exhibit A (compiling tolling agreements). This

means the June 27, 2024 Indictment could permissibly include conduct dating back to February

12, 2017 in the major fraud count and conduct dating back to February 12, 2019 in the false

statements counts.

        As alleged, then, the following aspects of the scheme to defraud described in the Indictment

fall outside the statute of limitations for false statements: (1) the submission of Grant 1 between

August 2016 and June 2018; (2) the submission of Grant 2 between January and June 2018; (3)

the submission of Proposal 1 in January 2018; (4) the submission of Grant 3 in January 2019; (5)

the initial submission of Grant 5 in January 2017; and (6) the publication of the 2012 and 2017

papers that were supposedly reincorporated in various of the grant applications. (Doc. 1 ¶¶ 15-18,

20, 24). And a portion of the submissions of Grant 1, the initial submission of Grant 5, and

publication of the 2012 and 2017 papers are likewise outside the statute of limitations for major

fraud. (Id.).

        Perhaps recognizing these timing issues, the Government creatively attempts to premise

the major fraud count on the January 12, 2018 “[s]ubmission of fraudulent Proposal 1 to NIH.”




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(Doc. 1 ¶ 32). But the supposed “fraudulent conduct” described to be part of Proposal 1 is a

Western blot (Figure 1) that had been included in the 2017 article that was included in the

application submitted in connection with Grant 1. (Id. ¶¶ 16, 18); see also Hoau-Yan Wang et al.,

PTI-125 Binds and Reverses an Altered Conformation of Filamin A to Reduce Alzheimer’s Disease

Pathogenesis, 55 Neurobiol. Aging 99 (2017; submitted Dec. 13, 2016). In other words, if there

was a “major fraud” on the Government connected to Figure 1, it occurred when Grant 1 was

submitted in August 2016, which falls outside the statute of limitations.

       Similarly, for the false statements count, the Government claims that, on November 18,

2019, “in connection with fraudulent Proposal 2, WANG fabricated the Western blots depicted in

multiple figures and made false representations about the results of the experiments depicted.”

(Doc. 1 ¶ 39). But again the real allegations of fraud in connection with Proposal 2 concern “a

citation to one of the published articles referenced above,” meaning the articles incorporated in the

Grant 1 application, which would again fall outside the statute. (Id. ¶ 25). While the Government

also claims that Proposal 2 involved “additional Western blots fabricated” and “other false

statements and materials omissions” (id.), those allegations are so vague that they cannot put Dr.

Wang on notice of a charge for false statements that falls within the scope of the statute of

limitations. See Brandon, 298 F.3d at 310.

       Counts 1 and 4 should be dismissed as untimely.

       C.      Count 1 Fails Because the Indictment Does Not Allege That Dr. Wang
               Executed a Scheme to Obtain at Least $1 Million.

       The Government’s major fraud charge (Count 1) fails because, as charged, it does not reach

the required statutory threshold for major fraud of $1 million. The major fraud statute prohibits

“knowingly execut[ing], or attempt[ing] to execute, any scheme or artifice with the intent – (1) to

defraud the United States; or (2) to obtain money or property by means of false or fraudulent



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pretenses, representations, or promises related to a federal grant or contract with a value of $1

million or more.” United States v. Verclas, 2019 U.S. Dist. LEXIS 766, at *4 (citing 18 U.S.C. §

1031(a)) (emphasis added).

       When an Indictment describes numerous potential violations of a statute, a “unit of

prosecution” determines “what separates a single violation of the statute from multiple violations.”

United States v. Diana Shipping Servs., 985 F. Supp. 2d 719, 727 (E.D. Va. 2013) (citing United

States v. Shrader, 675 F.3d 300, 313 (4th Cir. 2012)). Units of prosecution are determined by

Congress, not by the prosecution, and start with the statutory text. Id. (citing Sanabria v. United

States, 437 U.S. 54, 69-70 (1978)). If the text alone is insufficient, the court must then consider

the legislative history and “the overall statutory scheme,” before resolving doubts “in favor of

lenity for the accused.” Id.

       While the Fourth Circuit does not appear to have determined the appropriate “unit of

prosecution” for a major fraud, other circuits have held that each “execution” of a fraudulent

scheme is a “unit of prosecution” because the major fraud act criminalizes the “execution” of the

scheme, and not the scheme itself. United States v. Doost, 3 F.4th 432, 438 (D.C. Cir. 2021).

Likewise, the Fourth Circuit has found that bank fraud “authorizes prosecution for each execution

of a scheme to defraud a financial institution, not each act in furtherance of such a scheme.” United

States v. Colton, 231 F.3d 890, 908-09 (4th Cir. 2000). To determine each “execution” of a scheme,

the Fourth Circuit considers whether the act is “chronologically and substantively independent”

from the other acts charged. Id. at 909. As a result, “courts have found each in a series of “separate

diversions of funds,” separate loans, and separate extensions of a loan agreement to be a separate

execution” of a scheme that is properly chargeable in a separate count of an indictment. Id.

Similarly, in analyzing unit of prosecution in the context of the major fraud statute, the D.C. Circuit




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considered three factors: (1) “whether an identifiable sum of money can be traced to a specific

fraudulent transaction,” (2) “whether each charge involved the violation of ‘a new and independent

obligation to be truthful,’” and (3) whether the language of the indictment “sufficiently describes

two or more separate and distinct offenses.” Doost, 3 F.4th at 438-39.

       Here, the Indictment alleges that Dr. Wang committed major fraud when he caused

Proposal 1 to be submitted on January 12, 2018. (Doc. 1 ¶ 32). But the value of Proposal 1 was

allegedly only $118,975. (Id. ¶ 18). And even if Proposal 1 was a component of a broader scheme

to defraud, major fraud is not a continuing offense (see supra Pt. 2), so the Court should consider

each execution of the scheme separately and require the alleged execution to meet the statutory

threshold of $1 million. Stated differently, several minor frauds do not a major fraud make. If one

cashes four fraudulently obtained government checks for $250,000, one has committed four minor

(for Section 1031’s purposes) frauds, not one major fraud for $1 million, against the Government.

See, e.g., United States v. Jefferson, 674 F.3d 332, 367(4th Cir. 2012).

       The Government tries to meet the $1 million threshold by alleging that Proposal 1 is

connected more broadly to Grant 2, which involved a total award of $3,906,146 for the

development of Drug A. (Doc. 1 ¶¶ 17, 18). But the Government then alleges that Grant 2

involved “multiple applications in response to NIH funding announcements.” (Id. ¶ 17). The

Government does not identify whether and how Proposal 1 is connected to these multiple

applications nor how much funding the NIH was offering for a particular application to which

Proposal 1 is related. Such details are essential in order to understand the “unit of prosecution”

associated with Count 1 and whether the statutory threshold of $1 million has been met for that

unit of prosecution.




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       As pled by the Government, Proposal 1 appears to represent a separately chargeable

execution of the alleged major fraud scheme; a separate diversion of funds from the NIH that came

with an independent obligation to be truthful in the submittal; and an identifiable sum of money.

Therefore, Proposal 1 – a separate unit of prosecution – must be over $1 million to satisfy the

statutory threshold for major fraud. Because it is not, Count 1 must be dismissed.

       D.      Count 1 is Unconstitutional Because Venue is Improper in This District.

       The Indictment’s charge of major fraud also violates Dr. Wang’s constitutional rights to

face prosecution only where he allegedly committed the crime charged. The U.S. Constitution

requires that “[t]he Trial of all Crimes . . . shall be held in the State where the said Crimes shall

have been committed,” U.S. Const. art. III, § 2, cl.3, and that in “all criminal prosecutions, the

accused shall enjoy the right to a speedy and public trial, by an impartial jury of the State and

district wherein the crime shall have been committed.” Id. amend. VI (emphasis added). These

constitutional mandates are codified in the Federal Rules of Criminal Procedure, which require

that, absent an applicable exception, “the government must prosecute an offense in a district where

the offense was committed.” Fed. R. Crim. P. 18.

       When a criminal statute does not contain an express venue provision, venue is “determined

from the nature of the crime alleged and the location of the act or acts constituting it.” United

States v. Cabrales, 524 U.S. 1, 5 (1998); see also Verclas, 2019 U.S. Dist. LEXIS 766, at *5 (citing

United States v. Ebersole, 411 F.3d 517, 524 (4th Cir. 2005)). To determine venue, a court must

first “identify the conduct constituting the offense (the nature of the crime) and then discern the

location of the commission of the criminal acts.” United States v. Oceanpro Indus., Ltd., 674 F.3d

323, 328 (4th Cir. 2012) (citing United States v. Rodriguez-Moreno, 526 U.S. 275, 278 (1999)).

This is true because “venue is limited ‘to the place of the essential conduct elements of the

offense,’” Verclas, 2019 U.S. Dist. LEXIS 766, at *6 (quoting United States v. Bowens, 224 F.3d


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309 (4th Cir. 2000)) (emphasis added), which can be defined in terms of the effects of that essential

conduct, Oceanpro, 674 F.3d at 328 (citing Bowens, 224 F.3d at 314). Venue does not attach in

jurisdictions where only the “circumstance” elements of an offense occurred, even if those

circumstance elements are otherwise essential elements of the crime. Id. at 328 (holding “the

‘circumstance’ elements of an offense, even if essential, are of ‘no moment’ to a venue

determination”) (citing Bowens, 224 F.3d at 311); United States v. Spivey, 956 F.3d 212, 215 (4th

Cir. 2020) (“Not all elements of a criminal offense are relevant, however, for determining where

an offense was committed. Courts instead distinguish between ‘circumstance’ and ‘conduct’

elements.”) (citing Bowens, 224 F.3d at 310-11).7

        In determining the essential conduct elements of an offense, courts analyze “the key ‘verbs’

or actions sanctioned by the statute.” United States v. Sterling, 860 F.3d 233, 241 (4th Cir. 2017)

(citing Rodriguez-Moreno, 526 U.S. at 279-80). To that end, acts that are “merely ‘preparatory’

to the underlying offense and its essential conduct” and “acts which occur only in furtherance of

the crime or after a crime is complete” do not provide a basis for venue. Verclas, 2019 U.S. Dist.

LEXIS 766, at *6 (citing Jefferson, 674 F.3d at 367) (finding venue improper for a wire fraud case

because although acts in furtherance of the crime occurred in the relevant district, “the physical

act of transmitting the wire communication for the purposes of executing the fraud scheme,” did

not).

        Here, then, the Court must determine the essential conduct elements of the charged crime

of major fraud. For major fraud, this Court has held that “the only essential conduct is the knowing

execution or attempt to execute the scheme.” Verclas, 2019 U.S. Dist. LEXIS 766, at *8. This



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 When multiple counts are alleged in an indictment, venue must be proper on each count. United
States v. Robinson, 275 F.3d 371, 378 (4th Cir. 2001); United States v. Sterling, 860 F.3d 233, 240
(4th Cir. 2017).


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Court analyzed the essential conduct elements of major fraud in Verclas. There, the State

Department invited non-profits to submit grant proposals. Id. at *1. The Indictment alleged that

the defendant defrauded the United States by falsely representing her New York-based corporation

to be a non-profit, which she certified when she personally submitted the grant application from

New York. Id. at *2. The State Department awarded the defendant more than $1 million from the

District of Maryland. Id. at *2-3. This Court held that the defendant “executed her alleged scheme

to defraud and obtain money from the Government when she submitted her fraudulent grant

application from her offices in New York.” Id. at *8. “Once the Defendant submitted the

application, the scheme had been executed.” Id. at *9 (citing Reitmeyer, 356 F.3d at 1318 (holding

that scheme had been executed once defendant filed a claim for equitable adjustment)).

       Here, when read as a whole, the Indictment alleges that Dr. Wang, presumably either acting

from University 1 in the Southern District of New York or from his home in the Eastern District

of Pennsylvania, “caused to be submitted” Proposal 1 by Company 1 in the Western District of

Texas. (Id. ¶¶ 1-2, 17-18). As in Verclas, the submission of Proposal 1 is what executes the

alleged scheme, and Dr. Wang’s portion of that submission is alleged to have occurred in the

Southern District of New York, while the remainder is alleged to have occurred in the Western

District of Texas. But instead of pursuing an Indictment in either of those jurisdictions, the

Government chose to bring this case in this District, where the NIH is headquartered. In fact,

despite the Government having convened grand juries in both the Western District of Texas and

Eastern District of Pennsylvania to investigate this matter, Dr. Wang finds himself facing federal

criminal charges in a District to which he is not alleged to have sent a single email or wire transfer,

let alone set foot in, prior to his initial appearance in this matter. Count 1 should be dismissed for

failure to bring this charge in the proper venue.




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       E.      The Indictment’s Vague Allegations Do Not Provide Dr. Wang Fair Notice of
               the Charges Against Him.

       Dr. Wang has not received fair notice from the language of the Indictment as to which

aspects of his voluminous research over decades supposedly makes him guilty of the offenses

charged. All four counts of the Indictment arise out of one-of-two funding proposals, Proposal 1

or Proposal 2, which were allegedly submitted by Company 1 to the NIH. (Id. ¶¶ 32, 37, 39).

Nowhere in the Indictment does the Government allege that Dr. Wang authored either of these

proposals, because he did not. Nor does the Indictment allege that Dr. Wang submitted either

proposal to the NIH, because he did not. Instead, in order to improperly shoehorn its prosecution

of Dr. Wang into various fraud statutes, the Indictment baldly and repeatedly concludes that Dr.

Wang somehow “caused the submission” of the proposals to the NIH without alleging any facts

indicating how, when, or why he did so. (See, e.g., id. ¶¶ 10, 14(a), 15, 18, 20, 22, 24, 25). Such

conclusory allegations are not sufficient to apprise Dr. Wang of the charges against him so he can

prepare his defense, which renders all four counts of the indictment defective. See United States

v. Fogel, 901 F.2d 23, 25 (4th Cir. 1990) (“One of the principal purposes of an indictment is to

apprise the accused of the charge or charges against him so he can prepare his defense.”); Hooker,

841 F.2d at 1230 (this notice requirement “derives from the defendant’s Sixth Amendment right to

be informed of the nature and cause of the accusation . . .”). This is especially true given that the

specific laboratory work conducted by Dr. Wang that is allegedly connected to the charged conduct

(Proposals 1 and 2) was completed for 2012 and 2016 journal submissions, when Proposals 1 and

2 were supposedly submitted years later in 2018 and 2019 by someone other than Dr. Wang. (Doc.

1 ¶¶ 16, 18, 25).

       Moreover, the Government vaguely concludes that Dr. Wang intended to and did execute

a scheme to defraud without alleging any facts to support that allegation, other than his supposed



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manipulation of the image in Figure 1 for publication in a journal article before December 13,

2016. Several reasonable alternate readings of the Indictment are that Dr. Wang misunderstood

the standards for submission of Figure 1 to the journal or made a mistake in his preparation of that

image for submission to the journal. Neither is a crime. The Government has failed to allege facts

that connect the journal submission in December 2016 to Company 1’s proposal submission in

January 2018, such that, if true, this Court could determine all the elements of major fraud are met.

See Fed. R. Crim. P. 7(c)(1) (requiring every indictment to set forth “a plain, concise, and definite

written statement of the essential facts constituting the offense charged”).

       And, aside from the allegations about Figure 1, the Government vaguely alleges that Dr.

Wang made false statements to the NIH about “the mechanism by which Drug A was designed to

treat” and “by which Test A was designed to detect Alzheimer’s disease,” “the improvement of

certain indicators associated with advanced Alzheimer’s disease neurodegeneration in patients

treated with Drug A,” “the nature and scope of his scientific experiments,” “the truth and accuracy

of the images and information provided as representations of the underlying scientific

experiments,” “the results of his scientific research . . ., including Western blotting,” including in

“journal articles published by” Dr. Wang and others. (Doc. 1 ¶¶ 14(b), (c), 15-18, 20, 22, 24, 25).

These allegations must be viewed in the context of Dr. Wang’s decades of research and Company

1’s hundreds of pages of NIH submissions. Viewed in that light, none of these vague allegations

are sufficient to permit Dr. Wang to ascertain what aspects of his conduct are supposedly

fraudulent. The Indictment should be dismissed as too vague to apprise Dr. Wang of the charges

against him.8



8
  Alternatively, the Court should order the Government to file a bill of particulars to provide these
essential details, especially given that the Government produced millions of pages of discovery to
the defense. See United States v. Elbaz, 332 F. Supp. 3d 960, 982-83 (D. Md. 2018) (Chuang, J.)


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                                           CONCLUSION

       For these reasons, Defendant Hoau-Yan Wang respectfully requests that this Court

dismiss the Indictment in its entirety.



Dated: October 28, 2024                               Respectfully submitted,

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                                                      Counsel for Dr. Hoau-Yan Wang




(directing the Government to produce a bill of particulars itemizing the allegedly false statements
at issue, particularly given the 2.5 million pages of discovery produced).


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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of October, 2024, I filed the foregoing Motion to

Dismiss Indictment using the Court’s CM/ECF system. The CM/ECF system sent a “Notice of

Electronic Filing” to all counsel of record who have entered an appearance in this matter.



Dated: October 28, 2024                              Respectfully submitted,

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